904 F.2d 450
    UNITED STATES of America, Appellee,v.John A. KROH, Jr., Appellant.
    No. 89-1070 WM.
    United States Court of Appeals,Eighth Circuit.
    May 31, 1990.
    
      Appeal from the United States District Court for the Western District of Missouri;  H. Dean Whipple, Judge.
    
    
      1
      Prior report:  8th Cir., 896 F.2d 1524.
    
    
      2
      Appellee's petition for rehearing with suggestion for rehearing en banc has been considered by the court and is granted.  The opinion and judgment are vacated.  The Clerk will notify the parties of the time and place of oral argument at a later date.
    
    